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      Tl1e Econo1nic Structure of
      Intellectual Property Law

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          the ·x1 tc-d return t th n rm. I, c mpctiti\t level ); and th narrowl)1 ex•
          pr· ~i, pecb fthe dLpl.y are protected, which limits the amount of free
         ri ing.
             A ,--.,riJnt f the standards issue is pre ·emed by intermediate copying, illus-
          tr.ncd by Se a E11terprises Ltd. 1'. Accolade, I,,c. 111 Sega manufucturcd both
         c pyrighred video games and a console or monitor on which the games could
          be played . Accolade wanted to manufacture games that would also run on
         Sega's consoles. To do this it needed access to Sega's copyrighted computer
         source code to discmer the interfaces by which to "hook" a program to the
         operating code in a Sega console. It gained that access by reverse engineering
         Sega's video games. The information it obtained in this fashion enabled it to
         manufacture video games compatible with Sega's consoles. Its games did not
         infringe any copyright owned by Sega, and the information that Accolade ob-
         tained about the interfaces was not information that Sega could have copy·
         righted, because it was an idea. 19 But to obtain this information Accolade had
         copied the entire source code, which was copyrighted. The only use it made
         of the copies was to generate noninfringing works, and the only effect oflia-
         bility would thus have been to impede Accolade's competing with Sega in the
         market for video games, an anticompetitive result not sanctioned by any pol-
         icy of the copyright statute. The court sensibly held that the copying was a
         fair use and therefore noninfringing.
            Another application of Baker 11. Selden concerns the copying of architec-
        tural works. Architects' plans, blueprints, etc., can be copyrighted, and if they
        are then copied without authorization the copier is an infringer, though enti-
        tled by the "intermediate copying" exception just discussed to use the non-
        copyrightable ideas contained in the plans. 20 But what if someone copies not
        the plans or some ornamental sculptural work attached to the building's
        fa~ade but the building itself (its shape, proportions, cladding, and so on),
        which contains expressive as well as design clements, constructed from the
        plans? Is he an infringer? In cases preceding the statute discussed next, the
        law's answer sensibly was "no. "21 A building is functional as well as formal or
        decorative. If the architect could prevent the copying of the design elements
        visible in the building, he would have greater property-right protection than

           18. 977 F.2d 1510 (9th Cir. 1992).
           19. A "method ofoperation" within the meaning of section 102(b). See note 10 above.
           20. Unless they are covered by a design patent or the copier 1..":llmot get hold of them-but in
        the Demetriades case, cited in the next note, the plans had been tiled with a municipal agency
        and were open to public inspection.
           21. See, for example, Imperial Homes Corp. v. Lamont, 458 F.2d 895,898 (5th Cir. 1972);
        Demctriades v. Kaufmann, 680 F. Supp. 658,666; 698 F. Supp. 521,527 n. 6 (S.D.N.Y. 1988).
